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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 22-14102-Civ-Middlebrooks


   DONALD J. TRUMP,

                         Plaintiff,

   v.

   HILLARY R. CLINTON, et al.,

                     Defendants.
   ________________________________/


                                      NOTICE OF RECUSAL


          The undersigned Magistrate Judge, to whom the above-styled cause has been assigned,

   hereby recuses himself and refers the case to the Clerk of Court for reassignment pursuant to 28

   U.S.C. § 455.

          Dated at West Palm Beach, Florida this 22nd day of June, 2022.




                                                       __________________________________
                                                       BRUCE E. REINHART
                                                       UNITED STATES MAGISTRATE JUDGE




          In accordance with the Local Rules for the Southern District of Florida, providing for the

   random and equal allotment of cases, this cause will be reassigned to Magistrate Judge
    William Matthewman
   _____________________________.


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         Copies of this Notice shall be served on all pending parties of record by United States

   Mail. All documents for filing this case shall carry the following case number and

                2:22-cv-14102-DMM/WM
   designation:_____________________________________.


                                     22nd
         By order of the Court this ________         June
                                             day of _______________2022.

                                                    ANGELA NOBLE
                                                    Clerk of Court


                                                    _________________________
                                                    By: Deputy Clerk




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